     Case:09-00357-ESL7 Doc#:21 Filed:06/05/09 Entered:06/05/09 11:07:52      Desc: Main
                                Document Page 1 of 1



 1                         IN THE UNITED STATES BANKRUPTCY COURT FOR
                                  THE DISTRICT OF PUERTO RICO
 2

 3     IN THE MATTER OF:

 4                                              CASE NO. 09-00357 ESL
       ANGEL LUIS RIVERA BERMUDEZ               Chapter 7
 5

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 7
       XXX-XX-8578
 8

 9
                                                    FILED & ENTERED ON 06/05/2009
10
                      Debtor(s)
11

12                     ORDER DISCHARGING TRUSTEE AND CLOSING THE CASE
13          The Trustee having filed a Report of No Distribution, the Clerk having given
14    notice of the Trustee’s report, and no objections having been filed by any party
15    in interest, including the U. S. Trustee, it is now,
16          ORDERED that the Trustee be and is hereby discharged, that the bond of the
17    trustee be cancelled and the surety thereon released from further liability
18    thereunder and that the estate be and is hereby closed pursuant to the provisions
19    of Rule 5009 of the Federal Rules of Bankruptcy Procedure.
20           San Juan, Puerto Rico, this 05 day of June, 2009.
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23
                                                        Enrique S. Lamoutte Inclan
24                                                         U.S. Bankruptcy Judge

25    CC:    WIGBERTO LUGO MENDER
             US TRUSTEE
